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1             LAW OFFICES OF
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2     A PROFESSIONAL CORPORATION
              1101 E STREET
3          SACRAMENTO, CA95814
                       441-4888
                  State Bar #063214
4

5    ATTORNEYS FOR:             Defendant
6
7                                      IN THE UNITED STATES DISTRICT COURT

8                                     FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10    UNITED STATES OF AMERICA                         No.   2:10-cr-0517 KJM

11                                       Plaintiff,
                                                       STIPULATION AND ORDER
             v.                                        CONTINUING STATUS CONFERENCE
12
                                                       FROM MAY 26, 2011 TO JUNE 23,
13    HENRY KHENG HO.                                  2011

14                                     Defendant,

15

16
17             It is hereby stipulated by and between Plaintiff, United States of America and

18   Counsel for Defendant HENRY KHENG HO, and Counsel for Defendant GUAN ZHANG

19   LUO, that the Status Conference scheduled for May 26, 2011 be continued to June 23,

20   2011, at 10:00 am.

21             This request is made on the ground that defense counsel is engaged in continuing

22   investigation of the case and is in the process of providing additional information for the

23   government to consider as part of the resolution process.

24             The government and defendants agree that exclusion of time is appropriate under 18

25   U.S.C. § 3161(h)(7)(B)(iv), Local Code T4 [reasonable time to prepare], and further agree

26   that this exclusion of time includes the period from May 26, 2011 up to and including June

27   23, 2011.

28


     ///                                                 1
                            Case 2:10-cr-00517-KJM Document 42 Filed 05/24/11 Page 2 of 2


                  1
                             Counsel for the government, Assistant United States Attorney Todd D. Leras and
                  2
                      counsel for Defendant GUAN ZHANG LUO agree to this request and have authorized
                  3
                      Counsel for Defendant HENRY KHENG HO, Christopher H. Wing, to sign this stipulation on
                  4
                      their behalf.
                  5

                  6          Dated: May 23, 2011                             By: /s/ Christopher H. Wing
                                                                                 CHRISTOPHER H. WING
                  7                                                              Attorney for Defendant
                  8                                                              HENRY KHENG HO

                  9

             10              Dated: May 23, 2011                             By: /s/ Christopher H. Wing
                                                                                 JOHN E. VIRGA
             11                                                                  Attorney for Defendant
             12                                                                  GUAN ZHANG LUO

             13
                             Dated: May 23, 2011                             By: /s/ Christopher H. Wing
             14                                                                  TODD D. LERAS
                                                                                 Assistant U.S. Attorney
             15

             16
                             IT IS ORDERED THAT:
             17
                             Pursuant to the stipulations and representations of the parties, the Court finds that
             18
                      the ends of justice outweigh the best interest of the public and defendants in a speedy trial,
             19
                      and that time under the Speedy Trial Act shall be excluded under 18 U.S.C § (h)(7)(B)(iv)
             20
                      and Local Code T4 from May 26, 2011 up to and including June 23, 2011 and that the
             21
                      Status Conference now set for May 26, 2011 is continued to June 23, 2011 at 10:00 am.
             22
                      DATED: May 24, 2011.
             23

             24                                                            UNITED STATES DISTRICT JUDGE
             25

             26
             27
             28
 LAW OFFICES OF
 WING & PARISI
SACRAMENTO, CA.       ///
                                                                     2
